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 6                             UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. MJ16-369
 9
                                   Plaintiff,
10

11          v.                                            DETENTION ORDER

12   RYDER COLIN GUTHRIE,

13                                 Defendant.
14

15   Offense charged:

16          Count 1:        Aggravated Identity Theft

17   Date of Detention Hearing: September 7, 2016.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21          1.      Defendant was not interviewed so his background information is unknown.

22          2.      Defendant has stipulated to detention, but reserves the right to contest his

23   continued detention if there is a change in circumstances.

24          3.      There are no conditions or combination of conditions other than detention that

25   will reasonably assure the appearance of defendant as required.

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 8th day of September, 2016.
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18                                             AJAMES P. DONOHUE
19                                              Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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